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                                 5
                                   Attorneys for HINSHAW &
                                 6 CULBERTSON, LLP
                                 7
                                 8                         UNITED STATES DISTRICT COURT
                                 9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                10
                                11 Amy R. Weissbrod, US Patentee,                  Case No. 2:23-cv-04381-MEMF-E
                                   Plaintiff California State Bar #87419,
501 WEST BROADWAY, SUITE 600
 SAN DIEGO, CALIFORNIA 92101




                                12                                                 DECLARATION OF RYAN S.
                                                 Plaintiff,                        LITTLE IN SUPPORT OF MOTION
                                13                                                 TO DISMISS PURSUANT TO FRCP
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                                          v.                                       12(b)(6)
                                14
                                   LIVE NATION ENTERTAINMENT
                                15 INC., TICKETMASTER, INC., LIVE                  Hearing Date:  October 12, 2023
                                   NATION, INC., INSTANT LIVE                      Time:          10:00 a.m.
                                16 CONCERTS, LLC, MLB/MLB                          Judge: Hon. Maame Ewusi-Mensah
                                   ADVANCED MEDIA, INC.,                           Courtroom:     8B
                                17 PHISH/PHISH LIVE, COWAN
                                   LIEBOWITZ & LATMAN, PC,
                                18 HINSHAW & CULBERTSON, LLP,
                                   BAKER BOTTS, LLP, Does I-X,
                                19
                                                 Defendants.
                                20
                                21
                                22         I, Ryan S. Little, do hereby declare:
                                23         1.     I am an attorney at law duly licensed to appear before all courts in the
                                24 State of California and in this District. I am a lawyer with Klinedinst PC, attorneys
                                25 of record for Defendant, HINSHAW & CULBERTSON, LLP in the above-
                                26 captioned action.
                                27         2.     I have personal knowledge of the following facts and, if called upon as
                                28 a witness, could competently testify thereto, except as to those matters which are

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                                 1 explicitly set forth as based upon my information and belief and, as to such matters,
                                 2 I am informed and believe that they are true and correct.
                                 3         3.     Attached as Exhibit 1 is a true and accurate copy of the Complaint
                                 4 dated February 15, 2006;
                                 5         4.     Attached as Exhibit 2 is a true and correct copy of the Finding in the
                                 6 matter of Weissbrod v. Dopico dated June 21, 2023;
                                 7         5.     Attached as Exhibit 3 is a true and correct copy of an Order dated
                                 8 December 4, 2012;
                                 9         6.     Attached as Exhibit 4 is a true and correct copy of the Attorney Online
                                10 Services Search dated August 22, 2023;
                                11         7.     Attached as Exhibit 5 is a true and accurate copy of a Notice of Petition
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                                12 Pursuant to CPLR Article 78 dated September 21, 2011;
                                13         8.     Attached as Exhibit 6 is a true and accurate copy of In re Gurvey Slip
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                                14 Opinion 68377 dated March 26, 2013;
                                15         9.     Attached as Exhibit 7 is a true and accurate copy of the SDNY Docket
                                16 dated June 21, 2023;
                                17         10.    Attached as Exhibit 8 is a true and accurate copy of an Order of
                                18 Dismissal dated May 2, 2013;
                                19         11.    Attached as Exhibit 9 is a true and accurate copy of an Order dated
                                20 May 14, 2013;
                                21         12.    Attached as Exhibit 10 is a true and accurate copy of the General
                                22 Docket Court of Appeals, 2nd Circuit dated June 21, 2023;
                                23         13.    Attached as Exhibit 11 is a true and accurate copy of the Summary
                                24 Order 2nd Circuit dated August 19, 2014;
                                25         14.    Attached as Exhibit 12 is a true and accurate copy of the Civil Docket
                                26 re Gurvey v. Cowan, Liebowitz & Latman PC et al, dated August 22, 2023;
                                27         15.    Attached as Exhibit 13 is a true and accurate copy of the Civil rights
                                28 Complaint dated January 30, 2015;

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                                 1         16.    Attached as Exhibit 14 is a true and accurate copy of the Request for
                                 2 Judicial Intervention dated July 14, 2015;
                                 3         17.    Attached as Exhibit 15 is a true and accurate copy of the Decision re
                                 4 Gurvey v. Cowan, Liebowitz & Latman PC et al, dated February 10, 2016;
                                 5         18.    Attached as Exhibit 16 is a true and accurate copy of the Court Order
                                 6 dated April 21, 2016;
                                 7         19.    Attached as Exhibit 17 is a true and accurate copy of the In re Gurvey
                                 8 Slip Opinion 76108 dated June 9, 2016;
                                 9         20.    Attached as Exhibit 18 is a true and accurate copy of the Decision and
                                10 Order dated August 29, 2016;
                                11         21.    Attached as Exhibit 19 is a true and accurate copy of the Order to Show
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                                12 Cause dated August 19, 2015;
                                13         22.    Attached as Exhibit 20 is a true and accurate copy of the Decision and
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                                14 Order dated March 23, 2017;
                                15         23.    Attached as Exhibit 21 is a true and accurate copy of the Notice of
                                16 Entry dated March 21, 2017;
                                17         24.    Attached as Exhibit 22 is a true and accurate copy of the First
                                18 Department Motion Decision, dated July 6, 2017;
                                19         25.    Attached as Exhibit 23 is a true and accurate copy of the Opinion and
                                20 Order dated July 6, 2017;
                                21         26.    Attached as Exhibit 24 is a true and accurate copy of the Opinion and
                                22 Order dated July 7, 2017;
                                23         27.    Attached as Exhibit 25 is a true and accurate copy of the General
                                24 Docket Court of Appeals, 2nd Circuit dated June 26, 2023;
                                25         28.    Attached as Exhibit 26 is a true and accurate copy of the In the Matter
                                26 of Amy R. Gurvey v. State of New York, et al. Motion Decision dated November
                                27 16, 2017;
                                28         29.    Attached as Exhibit 27 is a true and accurate copy of the Appellate

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                                 1 Division, First Department, Motion Decision In the Matter of Amy R. Weissbrod
                                 2 dated January 23, 2018;
                                 3         30.    Attached as Exhibit 28 is a true and accurate copy of the Appellate
                                 4 Division, First Department, Motion Decision In the Matter of Amy R. Gurvey dated
                                 5 February 15, 2018;
                                 6         31.    Attached as Exhibit 29 is a true and accurate copy of the Appellate
                                 7 Division, First Department, Motion Decision In the Matter of Amy R. Weissbrod
                                 8 Gurvey dated February 20, 2018;
                                 9         32.    Attached as Exhibit 30 is a true and accurate copy of the Civil Right &
                                10 Unlawful Patent Taking Complaint dated March 12, 2018;
                                11         33.    Attached as Exhibit 31 is a true and accurate copy of the Decision,
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                                12 Order & Judgment In the Matter Amy R. Gurvey v. Rolando T. Acosta dated April
                                13 11, 2018;
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                                14         34.    Attached as Exhibit 32 is a true and accurate copy of an Order to Show
                                15 Cause dated April 19, 2018;
                                16         35.    Attached as Exhibit 33 is a true and accurate copy of an Order of
                                17 Dismissal dated June 5, 2018;
                                18         36.    Attached as Exhibit 34 is a true and accurate copy of the Decision In
                                19 the Matter of Amy R. Gurvey v. Rolando T. Acosta dated June 26, 2018;
                                20         37.    Attached as Exhibit 35 is a true and accurate copy of the Dismissal of
                                21 Appeal dated June 12, 2018;
                                22         38.    Attached as Exhibit 35 is a true and accurate copy of a Ruling In the
                                23 Amy R. Gurvey v. Cowan, Liebowitz & Latman, P.C. dated December 4, 2018;
                                24         39.    Attached as Exhibit 37 is a true and accurate copy of an Order dated
                                25 January 18, 2019;
                                26         40.    Attached as Exhibit 38 is a true and accurate copy of the Civil Docket
                                27 In the Matter of Amy R. Weisbrod Gurvey v. Hon(s) Jonathan Lippman, et al. dated
                                28 August 23, 2023;

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                                 1         41.    Attached as Exhibit 39 is a true and accurate copy of the General
                                 2 Docket US Court of Appeals for the Federal Circuit In the matter of Weissbrod
                                 3 Gurvey v. Lippman, dated August 23, 2023;
                                 4         42.    Attached as Exhibit 40 is a true and accurate copy of the Affidavit
                                 5 dated August 16, 2019;
                                 6         43.    Attached as Exhibit 41 is a true and accurate copy of a Denial In the
                                 7 Amy R. Gurvey v. Cowan, Liebowitz & Latman, P.C. dated October 7, 2019;
                                 8         44.    Attached as Exhibit 42 is a true and accurate copy of a Notice of
                                 9 Appeal dated March 19, 2020;
                                10         45.    Attached as Exhibit 43 is a true and accurate copy of a Petition In re:
                                11 Amy r. Gurvey dated August 16, 2023;
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                                12         46.    Attached as Exhibit 44 is a true and accurate copy of an Order
                                13 Dismissing Appeal dated January 8, 2021;
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                                14         47.    Attached as Exhibit 45 is a true and accurate copy of the Memorandum
                                15 and Order dated September 30, 2021;
                                16         48.    Attached as Exhibit 46 is a true and accurate copy of the Civil Docket
                                17 In the Amy R. Gurvey v. Hon. Elizabeth A. Garry dated June 21, 2023;
                                18         49.    Attached as Exhibit 47 is a true and accurate copy of a Writ of
                                19 Mandamus In the Amy r. Gurvey v. Cowan, Liebowitz & Latman, P.C. dated April
                                20 7, 2022;
                                21         50.    Attached as Exhibit 48 is a true and accurate copy of the General
                                22 Docket Court of Appeals, 2nd Circuit In re: Amy R. Gurvey dated August 28, 2023;
                                23         51.    Attached as Exhibit 49 is a true and accurate copy of a Motion to
                                24 Disquality Hinshaw & Culbertson, LLP dated May 12, 2014;
                                25         52.    Attached as Exhibit 50 is a true and accurate copy of an Opinion and
                                26 Order In the Amy R. Gurvey v. Cowan, Leibowitz & Latman, P.C. dated September
                                27 17, 2015;
                                28         53.    Attached as Exhibit 51 is a true and accurate copy of a Declaration of J.

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                                 1 Richard Supple, Jr. dated May 21, 2014;
                                 2         I declare under penalty of perjury pursuant to the laws of the United States of
                                 3 America that the foregoing is true and correct.
                                 4         Executed on this 8th day of September, 2023, at San Diego, California.
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                                 7                                               Ryan S. Little
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